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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION




JOHN HARTWELL COCKE,as Executor of the Estate
of WILLIAM BYRON COCKE, Deceased, et al,

                                Plaintiffs,
                                                          Civil Action File No.:
vs.

                                                          4:19-cv-00169WTM-CLR
CONTINENTAL MOTORS,INC., et al,

                                Defendants.




 ORDER GRANTING PLAINTIFFS RULE 17.1 PETITION SEEKING APPROVAL OF
                PRO TANTO SETTLEMENT WITH CONTINENTAL
               MOTORS,INC., now doing business as, CONTINENTAL
                          AEROSPACE TECHNOLOGIES


       The above-captioned matter having come before the Court on Plaintiffs' Rule

17.1 Petition for Approval of Pro Tanto Settlement with Continental Motors, Inc.,

now doing business as Continental Aerospace Technologies,(hereinafter CMI)for

reasons set forth in the Petition in accordance with Rule 17.1, and good cause having

been shown, it is hereby ORDERED and ADJUDGED, that the Petition for

Approval ofPro Tanto Settlement is GRANTED. Plaintiffs' are directed to file a

Motion to Dismiss CMI and CMI only, with prejudice, and Proposed Order to such

motion, within 7 days of this Order.
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      The Petition shall remain SEALED in accordance with this Court's Ruling on

Plaintiffs Motion to File Under Seal the Petition for Settlement.


      Thisy2^^ay of August 2020.


                                WILLIAM T. MOOREj
                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF GEORGIA
